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 2              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 3      UNITED STATES OF AMERICA,
                                                               Case No. CR07-5042
 4                            Plaintiff,
                 v.                                     ORDER RE: ALLEGATIONS OF
 5      JOSHUA MC CLELLAND,                             VIOLATION OF CONDITIONS OF
                                                        SUPERVISION BY UNITED STATES
 6                            Defendant.                PRETRIAL SERVICES

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     THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
 9   Office alleging defendant violated the conditions of supervision as set forth in said Petition.

10   The plaintiff appears through Special/Assistant United States Attorney, TATE LONDON;
     The defendant appears personally and represented by counsel, RUSSELL LEONARD ;
11
     The defendant has been advised of (a) the alleged violations; (b) the right to a hearing; and ©) that
12   defendant’s Appearance Bond could be revoked and defendant detained pending resolution of the
     underlying charges in the Complaint/Indictment/Information if found to be in violation of supervision.
13
     The defendant having
14   ( x ) acknowledged the right to a hearing on the merits, voluntarily waived that hearing and admitted
     the allegations alleged in violation #1 alleging use of marijuana on or before April 27, 2007, and
15   violation #3 that he failed to report for urinalysis testing on or before May 14, 2007.

16   ( x ) been found to be in violation of his bond by committing assault and shoplifting offenses in Portland
     Oregon on May 12, 2007 after a hearing before the undersigned.
17
   The court having determined that the defendant violated the conditions of his Appearance Bond, Now
18 therefore defendant’s Appearance Bond is hereby:
   ( ) continued in effect.
19 ( ) modified as follows:
   ( x ) revoked, and the defendant is ordered detained for failing to show that he/she will not flee or pose
20 a danger to any other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be
   delivered as ordered by the court for further proceedings.
21
   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
22 the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.
23                                                      August 29, 2007.

24
                                                        /s/ J. Kelley Arnold _________________
25                                                      J. Kelley Arnold, U.S. Magistrate Judge

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     ORDER
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